Case 3:02-cv-00339-MO Document 456 Filed 12/21/23 Page 1 of 2

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UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF OREGON

PORTLAND DIVISION

DISABILITY RIGHTS OREGON,
METROPOLITAN PUBLIC DEFENDER
SERVICES, INC., and A.J. MADISON,

Plaintiffs,

Vv.

DAVID BADEN, in his official capacity as head
of the Oregon Health Authority, and DOLORES
MATTEUCCL, in her official capacity as
Superintendent of the Oregon State Hospital

Defendants.

JAROD BOWMAN and
JOSHAWN DOUGLAS- SIMPSON,

Plaintiffs,
V.

DOLORES MATTEUCCI, Superintendent of the
Oregon State Hospital, in her individual and
official capacity, DAVID BADEN, Director of
the Oregon Health Authority, in his official
capacity, and PATRICK ALLEN in his
individual capacity,

Defendants.

2-cv-00339-MO (Lead Case)

3:0
3:21-cv-01637-MO (Member Case)

MARION COUNTY’S MOTION TO SET
BRIEFING SCHEDULE

3:21-CV-01637-MO (Member Case)

Page 1 of 3- MARION COUNTY’S MOTION TO SET BRIEFING SCHEDULE
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Case 3:02-cv-00339-MO Document 456 Filed 12/21/23 Page 2 of 2

LR 7-1 CERTIFICATION

Undersigned counsel for Amicus Marion County (“the County”) hereby certifies that
Marion County conferred with counsel for all parties and amici via e-mail on December 20,
2023, prior to filing this motion. Counsel for Disability Rights Oregon and the State defendants
did not respond. Counsel for Metropolitan Public Defender Services responded, and in his
motion notified the court of the county's request.

MOTION

On December 20, 2023, Plaintiffs filed a motion seeking an order extending the current
remedial order (ECF No. 416), which is set to expire on December 31, 2023, for a period of one
year. Unopposed Mot. to Extend Remedial Order (ECF No. 455). The County now moves this
Court for an order setting a briefing schedule for it to file a response in opposition and for any
reply thereto. The County respectfully requests until January 22, 2024, to file a response in

opposition to the motion and proposes a deadline for any reply of February 5, 2024.

Dated this 21st day of December, 2023.

Respectfully submitted,

JANE E. VETTO
MARION COUNTY LEGAL COUNSEL

POA Votstp
Jane E. Vetto, OSB #914564 ~
on County Legal Counsel
Attorney for Defendants Marion County

Page 2 of 3 - MARION COUNTY’S MOTION TO SET BRIEFING SCHEDULE
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